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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                    :
                                             :
        v.                                   :      CASE NO. 21-mj-686
                                             :
 LUCAS DENNEY,                               :
                                             :
      Defendant.                             :

             UNITED STATES’ RESPONSE TO DEFENDANT LUCAS DENNEY’S
             MOTION FOR RELEASE OF CUSTODY FOR FAILURE TO COMPLY
                WITH FEDERAL RULE OF CRIMINAL PROCEDURE 5.1(c)

        The United States of America, by and through its attorney, the United States Attorney

 for the District of Columbia, respectfully responds to Defendant Lucas Denney’s Motion for

 Release of Custody for Failure to Comply with Federal Rule of Procedure 5.1(c). In support

 thereof, the government states the following:

       1.       On December 13, 2021, Defendant Denney was arrested in his home state of Texas

on an arrest warrant issued from the United States District Court for the District of Columbia by

Magistrate Judge Robin M. Meriweather on numerous felony charges related to his violent

actions at the Capitol on January 6, 2021, including violations of 18 U.S.C. §§ 111(a)(1) and (b)

and 2; Assaulting, Resisting, or Impeding Certain Officers or Employees and Using a Deadly or

Dangerous Weapon or Inflicting Bodily Injury; 18 U.S.C. § 231(a)(3), of Obstruction of Law

Enforcement During Civil Disorder; 18 U.S.C. § 1512(c) and (k), Obstruction of an Official

Proceeding and Conspiracy to Obstruct an Official Proceeding; 18 U.S.C. §§ 1752(a)(1), (2), (4)

and (b)(1)(A), Knowingly Entering or Remaining in any Restricted Building or Grounds with a

Deadly or Dangerous Weapon, Disorderly and Disruptive Conduct in any Restricted Building or

Grounds with a Deadly or Dangerous Weapon, and Engaging in Physical Violence in any
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Restricted Building or Grounds with a Deadly or Dangerous Weapon; and 40 U.S.C. §

5104(e)(2)(F), Violent Entry and Disorderly Conduct on Capitol Grounds. ECF Nos. 1, 5.

       2.       Denney made his initial appearance in the Western District of Texas in front of

Magistrate Judge Collis White on December 14, 2021. See Exhibit A, Criminal Docket for Case

No. 21-mj-2264 CW. On December 17, 2021, Judge White detained Denney and issued an order

of removal, as well as an order detaining Denney without bond. See Exhibit B, Order of Removal,

and Exhibit C, Order Granting Oral Motion to Detain. In the first paragraph of the Order of

Removal, Judge White writes:

       In accordance with the Bail Reform Act of 1984, 18 U.S.C. 3142(f), and Rule
       5(c)(2) of the Federal Rules of Criminal Procedure, a detention hearing was held in
       conjunction with a removal hearing on December 17, 2021. Defendant was charged
       by criminal complaint in the District of Columbia but arrested in the Western District
       of Texas. Although it is anticipated by the undersigned that a formal Rule 5.1
       preliminary hearing will be held in that charging district within the required fourteen
       days, for the purposes of the Bail Reform Act the Court concludes that there is
       sufficient probable cause to believe Defendant committed at least one of the charges
       enumerated in the aforementioned criminal complaint filed on December 7, 2021.


       3.       Despite the statement that he anticipated a formal Rule 5.1 preliminary hearing to

be held in Washington, D.C., at the hearing, Judge White heard testimony from FBI Special Agent

James Farris and found that there was “probable cause to believe Defendant committed – at the

very least – a violation of 18 U.S.C. § 231(a)(3).” Exhibit B at 1-2.

       4.       Unlike Defendant’s claims to the contrary, he did not have an initial appearance

in Washington, D.C. on January 4, 2022. See January 4, 2022, Minute Entry for proceedings held

before Magistrate Judge G. Michael Harvey for defendant Donald Hazard. Indeed, Denney did

not arrive in Washington, D.C. until January 31, 2022. See Exhibit D, Email correspondence from

Elizabeth Oglesby at the United States Marshal Service. Defendant Denney’s initial appearance

has been scheduled for March 10, 2022 in front of this Court.
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       5.       Federal Rule of Criminal Procedure provides that a magistrate judge “must hold

the preliminary hearing within a reasonable time, but no later than 14 days after the initial

appearance if the defendant is in custody . . .” Here, Denney has not yet had his initial appearance

in the District of Columbia. Thus, a preliminary hearing should be set within 14 days of Defendant

Denney’s initial appearance in the District of Columbia, which is currently scheduled for March

10, 2022. The government has complied with Rule 5.1 and Defendant Denney should remain in

custody pending further proceedings.

       WHEREFORE, because the United States has complied with Federal Rule of Procedure

5.1, this Court should deny Defendant Denney’s Motion for Release of Custody for Failure to

Comply with Federal Rule of Procedure 5.1(c) and he should remain detained pending further

proceedings of this Court.


                                              Respectfully submitted,

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                                              DC Bar No. 481052

                                               /s/ Jennifer M. Rozzoni
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                                  CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Response to Defendant Lucas Denney’s Motion

for Release of Custody for Failure to Comply with Federal Rule of Criminal Procedure 5.1(c)

was served on all counsel of record via the Court’s electronic filing service.



                                               /s/ Jennifer M. Rozzoni
                                              JENNIFER M. ROZZONI
                                              Assistant United States Attorney


Date: March 3, 2022
